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                                                            February 28, 2018

VIA ECF
Hon. Vincent L. Briccetti
United States Courthouse
300 Quarropas Street, Room 630
White Plains, NY 10601

         Re:      CIT Bank N.A. v. Tracy D. Diaz, et al.
                  Case No. 7:16-cv-08794-VB

Your Honor:

        We represent CIT Bank, N.A. (“Plaintiff”) in the above-referenced mortgage foreclosure
action. I write pursuant to Your Honor’s individual practice rules to request that Plaintiff’s
motion for inter alia a Judgment of Foreclosure and Sale and related documents filed at ECF
Nos. 27- 31 be withdrawn without prejudice. Plaintiff, seeks to have the motion withdrawn as a
result of a settlement between the parties; moreover Plaintiff intends to file a stipulation of
voluntarily dismissal upon receipt from defendants. Further, Plaintiff requests that the upcoming
motion appearance for March 8, 2018 be cancelled, as a result of the aforementioned settlement.

       Thank you for your courtesies and consideration in this matter. Please do not hesitate to
contact the undersigned with any questions or concerns.

                                                            Respectfully submitted,

                                                            _________/s/_________________
                                                            Marc J. Gross, Esq.

VIA ECF
Tracy D. Diaz (Pro Se Defendant)

VIA First Class Mail
Caitlyn Diaz (Pro Se Defendant)
94 Creamery Drive
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